 

CaSe: 1:04-Cv-O4909 Document #: 65 Filed: 12/22/05 Page 1 of 7 Page|D #:865

IN THE UNITED STATES DISTRICT COURT F\§\
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

DENNIS HIGGINBOTHAM, individually
and on behalf of all others
similarly situatedr

Plaintiffs,

BAXTER INTERNATIONAL, INC.,
ROBERT PARKINSON, JR.,
BRIAN P. ANDERSON, JOHN GREISCH,

)
)
)
)
)
>
v. ) No. 04 c 4909
)
)
)
)
and cARLos DEL sALTo, )

)

)

Defendants.

MEMDRANDUM QPINIQN AND ORDER

This is the third review of a complaint in a securities
fraud putative class action which is subject to the Private
Securities Litigation Reform Act of 1995 ("PSLRA"), 15 U.S.C.

§ 78u-4 et seg. The cases were consolidated, lead plaintiffs
were appointed, and a Consolidated Class Action Complaint was
filed and then amended (the "ACAC"). Thereafter, defendants'
motion to dismiss the ACAC was granted and judgment was entered
dismissing lead plaintiffs' cause of action. §ge Higginbotham v.
Baxter International, Inc., 2005 WL 1272271 *3-10 (N.D. Ill.

May 25, 2005) {"Higginbotham I"). The allegations of the ACAC

were found to be deficient in that plaintiffs failed to

 

 

Case: 1:04-Cv-O4909 Document #: 65 Filed: 12/22/05 Page 2 of 7 Page|D #:866

adequately allege scienter. Since no motion for class
certification had been filed before defendants moved for
dismissal, class certification was denied without prejudice. §§§
id* at *l n.l. In ruling on the motion to dismiss, the court
noted that a judgment would be entered and that, if plaintiffs
desired to attempt to amend the complaint to state a viable cause
of action, they would have to move within the time permitted by
Fed. R. Civ. P. 59(e) and provide a proposed amended complaint.
§e§ id; at *10.

One lead plaintiff, Steelworkers Pension Trust, timely
moved to vacate the judgment and file a Second Amended
Consolidated Class Action Complaint (the "SCAC"). Defendants
were provided an opportunity to oppose iead plaintiff's Rnle
59(e) motion. On the arguments presented, lead plaintiff's
motion was granted, see Higginbotham v. Baxter Internationall
ng;, 2005 WL 2368795 (N.D. Iii. Sept. 23, 2005)

("Higginbotham II"), and the SCAC was filed. Defendants then
moved for reconsideration which was granted in part because new
defendants had been added to the case. Defendants expand on
their prior arguments presented in opposition to the Rule 59(e)
motion and also raise new arguments. Although these arguments
could have and should have been presented when opposing the

Rule 59(e} motion, a PSLRA case should not proceed if claims are

 

Case: 1:04-Cv-O4909 Document #: 65 Filed: 12/22/05 Page 3 of 7 Page|D #:867

not adequately alleged. Therefore, briefs were taken on
defendants' motion for reconsideration.

Defendants repeat their argument that lead plaintiff did
not have a sufficient basis for vacating the judgment that had
been entered. As was previously held, see Higginbotham II,

2005 WL 2368795 at *l, it was proper for this court to exercise
its discretion to vacate the judgment and permit the filing of an
amended complaint where it had been expressly stated when
initially dismissing the case that such a procedure would

be followed, see Higqinbotham l, 2005 WL l272271 at *10.
Familiarity with the prior rulings and allegations of the

SCAC is presumed.

ln Hi inbotham II, 2005 WL 2368795 at *3, it was held
that lead plaintiff had adequately alleged that defendants
Richard Greisch and Carlos del Salto had knowledge of the
Brazilian operations improprieties prior to the March 12, 2004
filing of defendant Baxter International, Inc.'s 2003 Form lU-K,
as well as prior to the May 10, 2004 filing of Baxter*s 2004
first quarter Form lO”Q. However, it was also held that it had
not been adequately alleged that Greisch and del Salto
participated in the preparation of those documents and therefore
those two defendants could not be held directly liable for the

alleged false statements in those documents, which are the

Case: 1:04-Cv-O4909 Document #: 65 Filed: 12/22/05 Page 4 of 7 Page|D #:868

alleged misstatements supporting plaintiff's Count I § lO(b) and
Rule l0b-5 claims. ld¢ Qf& Higginbotham I, 2005 WL 1272271
at *6. The Count l claims against these two defendants, however,
were not dismissed because Count l also included allegations that
Greisch and del Salto were liable because they had failed to
disclose material information that was contrary to the false
information that had been publicly disseminated and defendants
had made no argument that such allegations were insufficient to
support the Count l claims. Higginbotham II, 2005 WL 2368795
at *3. Now, however, defendants argue that the failure to
disclose allegations cannot support the Count I claims. This
time, plaintiff makes no argument to the contrary. There is no
argument from plaintiff that case law supports that a § lO(b) or
Rule 10b-5 claim can be based on the failure of corporate
officers to correct false information that others at the
corporation have disseminated. Therefore, the Count l claims as
against Greisch and del Salto will be dismissed in their
entirety. As to the other defendants, the failure to disclose
claims will also be dismissed.

On April 26, 2004, defendant Robert Parkinson became
Baxter's Chairman of the Board, CEO, and President. lt is
alleged that he is responsible for false statements contained in

the Form lO-Q that he signed and which was issued on May 10,

 

Case: 1:04-Cv-O4909 Document #: 65 Filed: 12/22/05 Page 5 of 7 Page|D #:869

2004. There is no allegation as to Parkinson's involvement with
Baxter prior to April 26, 2004. The SCAC, though, contains an
allegation that Parkinson made a statement supporting that he was
aware of the Brazilian operations improprieties in early May,
before the Form lO-Q was issued. The alleged statement, however,
was part of a public interview which defendants have provided and
of which this court may properly take judicial notice. The
transcript of the public interview does not support the
allegation of the SCAC and lead plaintiff does not presently
contend otherwise. The inference to be drawn from this statement
was central to the prior holding that the SCAC adequately alleged
Parkinson's scienter. §ee Higginbotham II, 2005 WL 2368795
at *3. The Count l claim against Parkinson will be dismissed in
its entirety.

ln Higginbotham I, 2005 WL 12?22?1 at *8, it was held
that the allegations as to Anderson were insufficient to infer
intent. In Higginbotham lI, 2005 WL 2368795 at *3, some
additional allegations contained in the SCAC were considered in
light of the limited opposition defendants filed in response to
lead plaintiff's Rule 59(e) motion. Considering the allegations
as to Anderson in light of the arguments now before the court,
which center on his sale of stock, it is clear that the

allegations as to Anderson are insufficient to infer intent.

Case: 1:04-Cv-O4909 Document #: 65 Filed: 12/22/05 Page 6 of 7 Page|D #:870

Anderson had a limited time period in which to exercise stock
options that were available to him. On March 9, 2004, Anderson
filed notice that he would be selling 44,902 shares. That sale
was consummated in late April. This was the first time Anderson
had sold any shares. Anderson's March 9 filing was three days
prior to the March l2 filing of Baxter's 2003 Form lO-K.

ln l 85 of the SCAC, lead plaintiff alleges that
Parkinson had knowledge of the Brazilian improprieties in May
2004 and therefore it can be inferred that Anderson had knowledge
at least that early. As previously discussed, there are
insufficient allegations to adequately infer that Parkinson had
such knowledge in early May 2004. Therefore, the additional
inference as to Anderson cannot be made.

ln the SCAC, the only facts regarding Anderson that go
beyond what was in the ACAC are (a) the allegation that,
according to a confidential witness, the Brazilian improprieties
were brought to the attention of Baxter management near the end
of the 2004 first quarter and (b) that Anderson had not sold any
Baxter shares prior to April 2004. The conclusory nature of this
first allegation prevents it from adding much weight to the
allegations of Anderson's scienter. §ge Higginbotham l, 2005 WL
127227l at *6. The timing of the decision to sell the stock and

the issuance of the 2003 lO-K is not sufficient to draw a strong

 

Case: 1:04-Cv-O4909 Document #: 65 Filed: 12/22/05 Page 7 of 7 Page|D #:871

inference of scienter. The stock options had a limited time
period in which to be exercised before expiration in June 2004.
The stock sale does not turn otherwise weak inferences of
scienter into the strong inference of scienter required under the
PSLRA. The Count l claim against Anderson will be dismissed.

Because the claims against all the individual defendants
are deficient, the claims against Baxter are also insufficient.
§ee Higginbotham l, 2005 WL 12?227l at *8-9. There being no
sufficient claim against Baxter, the Count ll control person
claims fail as well. §ee id$ at *lO. The SCAC will be dismissed
in its entirety.

IT IS THEREFORE ORDERED that defendants‘ motion to
reconsider [55] is granted in part and denied in part. The Clerk
of the Court is directed to enter judgment in favor of defendants

and against plaintiffs dismissing plaintiffs' cause of action

with prejudice. Class certification is denied without prejudice.

¢é/M/%f/é¢f

UN:TEn sTATEs DIsTRICT JUDGE

ENTER:

DATED: DECEMBER 22 , 2005

